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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                   HAMMOND DIVISION

 UNITED STATES OF AMERICA,                                     )
                                                               )
                        Plaintiff                              )       Case No. 2:07 CR 149
                                                               )
                v.                                             )
                                                               )
 RYAN HUSTON,                                                  )
                                                               )
                        Defendant.                             )

                                               ORDER

       This matter is before the Court on the Report and Recommendation of Magistrate Judge

Andrew Rodovich, relating to Defendant Ryan Huston’s request to enter a plea of guilty pursuant to

Federal Rules of Criminal Procedure 11. Following a hearing on the record on January 30, 2009,

Magistrate Rodovich found that there is a factual basis for Defendant’s plea and that the Defendant

knowingly and voluntarily entered into his plea of guilty. Accordingly, Magistrate Rodovich

recommends that the Court accept Defendant’s plea of guilty to the offenses charged in Counts 1 and

5 of the second superseding indictment and that Defendant be adjudged guilty of the offenses charged

in Counts 1 and 5 of the second superseding indictment.

       Neither party has filed an objection to Magistrate Rodovich’s Report and Recommendation.

The Court having reviewed Magistrate Judge Rodovich’s Report and Recommendation and agreeing

with the reasoning therein, hereby ADOPTS the Report and Recommendation in its entirety.

       SO ORDERED.

       ENTERED: February 19, 2009

                                                       s/ Philip P. Simon
                                                       PHILIP P. SIMON, JUDGE
                                                       UNITED STATES DISTRICT COURT




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